Case 5:20-cv-00360-AFM Document 26 Filed 12/30/20 Page 1 of 1 Page ID #:1727



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 7                           UNITED STATES DISTRICT COURT
 8                         CENTRAL DISTRICT OF CALIFORNIA
 9
10        ANNETTE M. M., 1                           Case No. 5:20-cv-00360-AFM
11                          Plaintiff,
                                                     JUDGMENT
12
               v.
13
         ANDREW SAUL,
14       Commissioner of Social Security,
15
                            Defendant.
16

17            In accordance with the Memorandum Opinion and Order Affirming Decision

18   of Commissioner filed concurrently herewith,

19            IT IS ORDERED AND ADJUDGED that the Commissioner’s decision is

20   AFFIRMED.

21

22   DATED: 12/30/2020

23
                                                 ____________________________________
24                                                    ALEXANDER F. MacKINNON
25                                               UNITED STATES MAGISTRATE JUDGE
26

27
     1  Plaintiff’s name has been partially redacted in accordance with Federal Rule of Civil Procedure
     5.2(c)(2)(B) and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
